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                                                                   BP America Inc.
                                                                   P.O.Box 3092
                                                                   Houston, Texas 77253-3092

  Mark Holstein                                                    501 WestLake Park Blvd.
                                                                   Houston, Texas 77079-2607
        Managing Attorney                                          Mail Code 17.130
        BP Legal – Litigation
                                                                   Direct: 281-366-8895
                                                                   Fax:    281-366-3491
                                                                   Mark.Holstein@bp.com




June 21, 2013

Via E-Mail

The Honorable Carl J. Barbier
United States District Judge
United States District Court, Eastern District of Louisiana
500 Poydras Street, Room C-256
New Orleans, LA 70130


Re:    Deepwater Horizon Court Supervised Settlement Program -- Request for Examination


Dear Judge Barbier:

BP has been evaluating the administrative activities, policies, procedures and controls of the
Court Supervised Settlement Program (the “CSSP”), for which BP provides all funding under
the Settlement Agreement. This ongoing review has included consideration of documents,
data, claims, claim appeals and other information provided by the CSSP, as well as recent
meetings with the Claims Administrator’s Office (the “CAO”) and CSSP vendors BrownGreer
PLC (“BrownGreer”), Garden City Group, Inc. (“GCG”), PricewaterhouseCoopers LLP (“PwC”)
and Postlethwaite & Netterville APAC (“P&N”). Based on those meetings and our analysis of
the information provided to us by the CAO, we question whether the CAO is exercising
appropriate professional oversight and supervision of the CSSP. Specifically, we have
significant concerns regarding what appear to be (1) inadequate operational controls; (2)
significantly higher than expected administrative costs and expenses; (3) substantially lower
than expected claim processing efficiencies and productivity; and (4) inadequately funded,
insufficient processes to detect and prevent fraud, waste and abuse.

BP’s concerns about these management issues have been heightened by the troubling
allegations that have recently come to light regarding misconduct by a senior CAO employee
that may have impacted significant CSSP policy decisions, improperly influenced claims
outcomes and resulted in the payment of fraudulent, excessive or improper claims. At
minimum however, these issues have resulted in an extremely costly and underproductive
program. Simply by way of comparison, the per claim administrative costs incurred by the
CSSP are significantly higher than the per claim costs incurred by the Gulf Coast Claim Facility
(“GCCF”). Furthermore, the rate of productivity of the CSSP appears to be lower than the
productivity of the GCCF.




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Given these serious concerns and in light of the overall administrative complexity of the
program, BP respectfully requests that a full examination of the CSSP be undertaken promptly
to assess the efficacy of the CAO’s entire management operation, including but not limited to
the CAO’s internal operating procedures and vendor governance protocols. The examination
should identify any necessary recommendations for improvement as appropriate. We believe
that an appropriate examination will lead to significant opportunities for improving the quality,
efficiency and integrity of CSSP operations, reduction of disruptive staff turnover, greater
consistency in claims determination, better decision making and, potentially, more expedited
claims processing.

This proposed examination is not duplicative of the recent audit completed by
CliftonLarsonAllen (“CLA”). 1 Unlike the proposed examination, which would provide an
opinion, inter alia, on the effectiveness of operational processes of the CAO and the
efficiencies of the entire CSSP, the recently completed CLA audit was limited to essentially
testing whether CSSP processes were resulting in accurate claims evaluations. The CLA audit
was not designed and did not attempt to evaluate the CAO’s operational protocols, particularly
those of the type that relate to the current allegations against a senior CAO employee, the
CAO’s overall management of the CSSP vendors, or the processes to mitigate fraud, waste and
abuse. In short, the CLA audit does not address the issues raised by BP in this letter.

Notwithstanding its differing scope, the utility of the CLA audit is questionable, even as to its
intended purpose. Either because of an inadequate scope caused by cost constraints imposed
by the CAO or simply a flawed design, the CLA audit was conducted with such a high margin of
error and deficient sample selection methodology that meaningful conclusions cannot be drawn
from it, even as to the factors it purports to measure. Moreover, although the CLA report
identifies a number of areas of potential concern, it does not perform any further investigation
on those issues and presents an opinion of “minor improvements needed” that may be
unfounded.

For all of the reasons set forth above and discussed in more detail herein, a complete
examination (which may include as a component some level of accounting audit) of CAO
management and its operational protocols, is necessary and should be initiated posthaste. This
examination should benefit the CAO, the CSSP as well as the Class and BP.


I.       The CSSP Is Operating With Extremely High Costs and Low Productivity.

In its April 25, 2013, budget presentation, the CAO provided information showing the average
monthly administrative cost of the CSSP of $39.74 million as compared to the average monthly
administrative costs of the GCCF of $47.94 million. The statistic is somewhat misleading,
however, because most of the difference between average program costs is simply attributable
to the fact that the CSSP has virtually eliminated using a vendor dedicated to fraud analysis.
When excluding the fraud costs from the GCCF figure, the average monthly CSSP costs are

1
  On May 17, 2013, CLA issued its report titled, Deepwater Horizon Economic Claim Center
Independent Evaluation of the Internal Control Environment, describing the methodology and
audit recently completed.
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running at 93% of GCCF costs. In any event however, missing from the CAO presentation was
any measure of productivity achieved by the program.

Based on our analysis of the information provided by the CSSP, on average, the CSSP has
resolved 8,412 claims per month as compared to 22,325 claims per month by the GCCF. 2
Since its inception, the CSSP’s most productive month was March 2013, when it began issuing
Business Economic Loss (“BEL”) denials for incompleteness, where it achieved a total of
15,467 resolutions. In contrast, the GCCF’s most productive month resolved 62,071 claims,
excluding emergency payments. In total, the GCCF experienced seven months where (non-
emergency) resolutions exceeded the CSSP’s most productive month. These results are
summarized below:

          Measure                    Weighted GCCF Average               Weighted CSSP Average
Costs Per Paid Claim 3                       $3,030                             $11,975
Costs Per Resolved Claim 4                   $1,972                              $5,032
Claim Resolutions Per Month                  22,325                              8,024

Once these productivity measures are considered, the nearly equivalent average monthly costs
of the two programs is not a positive observation of the CSSP and rather highlights that the
CSSP is significantly more costly than the GCCF overall.


II.     The CAO Does Not Appear to Employ An Expense Management Plan.

As discussed in detail below, our overall observation after having reviewed CSSP’s information
and meeting with the CSSP vendors is that the CAO does not appear to have any effective
strategy regarding expense management and the vendors appear to be operating without
meaningful direction from the CAO as to the most efficient way to operate as an integrated
system. As a complex program with four vendors attempting to work in concert, the overall
management of the system is critical. Instead, the management teams for each vendor are
being left almost entirely to set their own goals and performance measures and appear to make
collective ad hoc adjustments to processes without any holistic or empirical consideration of
costs or efficiencies.

In order to properly manage a claims program of this magnitude, detailed budgets for cost and
performance measures should be established. Actual results should be measured against
those budgets. Periodic (e.g., monthly) performance reviews of budgeted vs. actual results

2
  This analysis controls for the increased number of “claims” a single claimant may have had under the
GCCF (i.e., a single claimant may have an EAP claim, an interim payment and a final payment) by
excluding emergency payments and by counting a claimant who may have received interim and/or final
payments as a single claim.
3
  Costs incurred prior to the first claims resolutions (i.e., startup costs) have been excluded from the
calculation.
4
  Resolved claims are comprised of claims that are either approved for payment, denied or withdrawn.
Costs incurred prior to the first claims resolutions (i.e., startup costs) have been excluded from the
calculation.
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should occur. These reviews identify problem areas and force an evaluation of how to address
them. Budgets and performance measures should be established at detailed levels. High level
or aggregate budgets and performance measures do not allow for the identification of specific,
actionable items that can influence future performance. As discussed below, through its
observations and inquiries, BP has been unable to confirm whether this level of review is
occurring. As a result, it is necessary for an examination of the CSSP to occur in order to
evaluate the program, identify and correct any shortcomings in its execution.

        A.       Vendors Do Not Appear To Be Managed To Meet Quantitative Performance
                 Goals.

Based on our discussions and review of the documents, other than tracking and monitoring
costs and expenses, the CAO does not appear to make any effort to actively manage expenses
to any financial plan. The only comparative measure the CAO’s office apparently uses to
measure CSSP expenses is the GCCF experience, which as discussed above, does not provide
a favorable assessment of CSSP expense management. The CAO measurement is simply a
comparison of total monthly costs, which fails to consider that, at meaningfully lower
production rates, the CSSP is expending much more per claim to accomplish all of its required
tasks than the GCCF incurred.

As the vendors explained during our recent series of meetings, although each individual vendor
may have its own internal standards, there do not appear to be any quantitative performance
measures imposed by the CAO on the CSSP vendors to measure productivity at either the
vendor or staff level. For example, the CAO has not set any production goals per full-time
equivalent employee (“FTE”) for any of the tasks or subtasks regularly performed by the
vendors (e.g., each FTE accountant evaluating BEL claims is expected to process a specified
number of claims per week; each FTE accountant evaluating IEL claims is expected to process
a specified number of claims per week; each FTE performing document intake tasks is
expected to process a specified number of documents per week; each accountant Q/A FTE is
expected to process a specified number of Q/A reviews per week). Nor does it appear that the
CAO has set any systematic performance expectations for the average time it should take to
complete each stage of the claims evaluation process (e.g., claims should remain in a particular
stage for less than a specified number of hours/days). None of the vendors’ contracts or task
orders that we have seen contain Key Performance Indicators or Service Level Agreement
metrics associated with performance; they merely establish maximum staffing levels.

Establishing performance measures for such a complex and variable operation obviously is not
a simple task, but any purported difficulty in establishing these measures does not obviate the
need for them. Establishing performance goals is a best practice for any professionally run
business or claims-processing operation, but they are particularly important given that the CSSP
has four vendors that may each touch the same claim and may each be responsible for several
stages of a multifaceted claims processing workflow. Without measuring performance, the
CAO cannot evaluate the CSSP vendors relative to their respective costs, make empirically
based staffing decisions, or assess whether the entire system is running as efficiently as
possible.
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        B.       The CAO Appears To Allow Process Changes to Be Implemented On An Ad
                 Hoc Basis And Without Any Consideration of Cost/ Benefit Analysis.

CSSP Vendors also appear to be making ad hoc adjustments to processes without any
empirical consideration of costs or impact on efficiency. One recent anecdotal example relayed
by the vendors was that, as between PwC and P&N, the accounting firms decided it is better
for each accounting firm to perform its own Quality Assurance (“Q/A”) review of the claim files
it is responsible for processing. Up until the recent change, PwC had been performing the Q/A
of files processed by P&N. However, because taking on the Q/A process as to its own files
created staffing pressures for P&N, it requested PwC to begin processing the Failed/Start-up
Business claims that P&N was previously responsible for processing. PwC agreed and as a
result, PwC now has 15 accountants working in some capacity to handle “Failed/ Start-up
Business” claims.

We have no comment on whether these process changes are positive or negative with respect
to overall costs or efficiencies. However, the “horse trading” approach giving rise to the
process change highlights the lack of management scrutiny being applied by the CAO. Setting
aside qualitative considerations, before authorizing such a change in process, we would have
expected at least some level of analysis to have been completed by the CAO to determine
whether P&N has the ability to meet or exceed the productivity of PwC accountants that had
been previously performing Q/A review.

Another example demonstrating the lack of rigor in the management process is the recent
proposal by the CAO to add 100 new accountants to the program. As confirmed by our
discussions with PwC and P&N, the staffing proposal was not developed to meet any specific
empirical goal. Instead, it was based on an untested hypothesis from the CAO that increasing
the number of accountants was the most effective approach to reduce the backlog of
outstanding BEL claims. Although the estimated cost to add these accountants is $39 million
per year, no analysis appears to have been completed to determine, for example, the ability of
additional accountants to actually impact the backlog (e.g., some unknown percentage of
claims are simply waiting information from claimants); whether any part of that pending backlog
could be reduced by using other, less costly staff; whether the beneficial impact of the
accountants justifies the additional $39 million yearly cost (above and beyond the over $170
million already being spent on accounting services); or whether the same positive impact of
adding accountants could be achieved by otherwise improving the efficiency of the current
accounting workforce. Indeed, as the CAO presented during the vendor meetings, the CAO’s
only analysis appears to be a projection that adding the additional accountants will marginally
reduce the length of the program, but at a dramatic increase in overall cost to the facility.
Again, BP has not formed a judgment whether or not adding 100 accounts is reasonable or
necessary. Our concern is that there seems to be little, if any, consideration being given to
achieving CSSP objectives in a cost effective manner or to performing the analysis required to
determine whether the additional accountants would achieve the intended goal cost-effectively.

Information technology costs are another area with minimal expense management. Currently,
BrownGreer has approximately 90 individuals working on IT development at a cost of more
than $1.7 million per month. As we understand it, with the exception of one or two modules,
all of the programming necessary for the initial design build has been completed for each of the
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twelve claim types. The bulk of the expenses related to current IT services are for the day-to-
day operations of the system and ad hoc improvements to the claim system that are requested
or proposed by the CSSP vendors. Our understanding is, with some exception, these are the
“bells and whistles” being added to the claim system. There does not appear to be any
attempt to measure whether a particular system change actually improves the efficiency of the
process or whether the cost and expense of developing the computer code and training the
staff on the system change are justified by the actual measurable benefit to the process.

        C.       The CAO Does Not Appear To Proactively Manage Staffing Costs and
                 Expenses.

It does not appear that the CAO makes meaningful efforts to match staffing levels to workloads
in order to manage staffing costs and expenses. Despite being a mature claims program, the
total vendor headcount does not appear to be decreasing to reflect an improvement in
efficiency as staff become more proficient completing their routine tasks. And while, given our
limited access to CSSP information, we are not in a position to comment on whether there are
unique circumstances preventing the expected reduction in headcount, we do observe that the
CAO is not even holding vendors to its own headcount projections. For example, with respect
to the Claim Assistance Centers and the call centers, information provided by the CAO shows
that the office performs predictive modeling to forecast staffing levels needed to achieve
desired service levels. However, despite the CAO modeling results the actual staffing levels
established are well in excess of the model, presumably resulting in significant amounts of non-
productive time for staff.

As explained during our vendor meetings, Garden City Group currently operates two call
centers — one located in Ohio and another located in Florida, both operating Monday through
Saturday. Despite dramatically reduced call volume, the CAO’s own predictive modeling
results and Garden City’s stated view during the meeting that closing the redundant Florida
facility and eliminating Saturday coverage is appropriate and would allow a further reduction in
workforce, the CAO has not implemented these cost-saving staffing reductions at this time.

The CSSP is also incurring a significant expense and loss of efficiency from high monthly
turnover. Based on the series of vendor meetings, BrownGreer is experiencing monthly
turnover as high as 4%, or 48% annually. This has resulted in significant training costs and lost
productivity as the facility has presumably had to replace over 700 staff per year at current
turnover rates. Based on our understanding, the CAO has never identified this as an issue or
attempted to address it with the vendor.

Nor does the CAO appear to be proactive in managing independent contactor pass through
costs. BrownGreer and Garden City collectively hired more than a thousand independent
contractor employees to work at the CSSP. These vendors marked-up the labor costs of their
respective independent contactors and passed those markups along to the CSSP and
Settlement Trust. The CAO appears to have given no consideration to the substantial cost
savings the CSSP and Settlement Trust could have been achieved had the CAO identified this
issue and explored opportunities to substantially reduce these markups. We understand that
BrownGreer has been routinely converting its independent contactors to at-will employees
thereby potentially impairing the ability of the CSSP to address these contractor markups.
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Furthermore, when we presented this issue to Garden City, it told us that it will be immediately
moving to convert its independent contractors to at-will employees. Moreover, Garden City
operates the Florida call center pursuant to a subcontract with a call center operator and, when
asked about possible markups to its subcontractor rates, refused to disclose to us the amount
they pay the subcontractor to run the facility. It would be expected that the direct costs would
be passed through to the CSSP with no markup by Garden City. However, we have not been
able to determine if a markup is being added.

With respect to expenses, there also seems to be minimal effort by the CAO to curb
unnecessary expenditures. The CSSP is currently incurring approximately $400,000 in monthly
travel expenses as a result of having PwC accountants travel from New York, Washington D.C.,
Dallas, Houston, Atlanta and Chicago to work in the New Orleans area. As explained by PwC,
there is no substantive need from a qualitative standpoint for PwC accountants to be physically
present in New Orleans, and indeed, accountants from four other PwC offices work on the
project in the same capacity as their colleagues without ever traveling to New Orleans. Again,
the CAO does not even appear to have considered whether it is necessary for the program to
continuously incur monthly hotel, lodging, and transportation costs that do not appear to
provide any benefit to the performance of the program.

A properly managed claims process should balance the precision achieved by the evaluation
process, the time to complete a review (throughput), and cost. None of these attributes
individually should determine how a particular process is established. Goals for these three
attributes should be established and clearly communicated so all team members understand
the objectives. This understanding of the intent of the project leader allows subordinate
leaders to make decisions consistent with the objectives in the absence of specific guidance.
An examination will identify areas to improve the balance between these considerations.


III.    The Effectiveness, if Any, of CSSP’s Procedures To Detect and Mitigate Fraud,
        Waste and Abuse Is Not Apparent.

As set forth by the CAO during the April 25, 2013, budget presentation, the CSSP has reduced
its fraud vendor costs to approximately $200,000 per month—down from approximately
$5.3 million per month during the GCCF. This represents most of the difference in average
monthly costs between the two programs. Indeed, when excluding the fraud costs from the
GCCF costs, the average monthly CSSP costs are running at 93% of GCCF costs. While
BrownGreer does perform some fraud investigations for the CSSP as it did with GCCF, even
when considering only the CSSP costs, the CSSP still appears to be spending nearly 90% less
on fraud detection than the GCCF.

Although the CAO and BrownGreer highlight this reduction in spending as evidence of cost
savings, neither BrownGreer nor the CAO have provided any empirical support suggesting that
the quality of the remaining CSSP fraud mitigation efforts are, in fact, as effective as the GCCF
efforts. The information BP has been provided suggests that the efforts taken by the CSSP to
detect fraud are relatively nominal in relation to the actions taken by the GCCF, which yielded
numerous fraudulent claims. As described by the CAO, “BrownGreer relies on their claims
evaluators to be sensitive to fraud and look for suspect documents . . . .”
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The level of attempted fraud experienced by the GCCF was significant. Indeed, the GCCF’s
fraud detection system is currently featured in a pending appeal before the United States Court
of Appeals for the Fifth Circuit, Johnson v. BP, No. 12-20512. In the Johnson case, the GCCF
detected a fraudulent claim that otherwise would have been paid $2.7 million and denied it on
that basis. The GCCF fraud mitigation vendor identified 9,130 claims containing potential fraud,
of which more than two-thirds were multiple claimant schemes. Said differently, the GCCF
was targeted by more sophisticated, institutional fraud rings. Accordingly, the CSSP fraud
mitigation efforts should be, at minimum, equally robust. It is unclear at best whether
BrownGreer’s system of primarily relying on individual claims evaluators to detect fraud is the
most cost effective method of identifying sophisticated fraud actors. In light of the enormous
reduction in overall spending on fraud detection from the GCCF, an examination of the overall
fraud detection process is both necessary and warranted.


IV.     The CSSP Appears To Lack Adequate Controls And Uniform Processes To Detect
        Errors In Claimant Submitted Profit and Loss Statements.

It does not appear that there are uniform processes in place to detect errors in claimant-
submitted profit and loss statements, and there is significant risk of claims being paid based
upon inaccurate or fraudulently submitted profit and loss statements. 5 According to the CSSP,
claimant-submitted profit and loss statements are not audited and, instead, the CSSP simply
takes these statements as they are submitted. PwC advises that the only scrutiny applied to
claimant-submitted profit and loss statements is if a CSSP accountant identifies something that
“looks unusual” or “inconsistent” or “wacky.” Unless one of these subjective criteria is
observed, there is no inquiry. PwC noted that errors in claimant-submitted profit and loss
statements can be “hard to identify.” BrownGreer has further advised us that a profit and loss
statement generated for the purpose of filing BEL claim, rather than contemporaneously in the
ordinary course of business, “does not raise any red flags” for the Settlement Program’s
screens for fraudulent conduct (this raises a significant concern as to the adequacy of the
CSSP’s anti-fraud processes as discussed above).

A professionally run claims administration charged with implementing compensation
frameworks should be making those determinations using accurate and non-fraudulent data,
and should not simply accept data “as given” by the claimant without question. Nor should
there be what was described as an ad hoc system to question entries in profit and loss
statements based on a “wacky” standard as opposed to a more appropriate, robust and
uniform process.

In the context of BEL claims, there is significant opportunity for claimants to submit inaccurate
or falsified profit and loss statements given the understanding that the Settlement Program
takes this “hands off” approach with no audits of claimant-prepared financials. For example,
the BEL compensation framework Step One, allows claimants the optionality to select three or
more consecutive months from May to December 2010 as the compensation period. Absent
any audit procedures or checks, it is possible for claimants to create financials in which revenue

5
 Given what we have observed with the BEL claims process, the other CSSP claims process
should be similarly scrutinized in the examination.
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and expense entries are placed into months inaccurately yet tie with amounts reported on
annual year-end profit and loss statements. Likewise, it is possible for claimants to submit
profit and loss statements in which errors and inaccuracies were not corrected which then may
cause it to appear a claimant experienced a loss of variable profit when, in fact, there was no
such loss. Moreover, given that accountants in Louisiana and Alabama may pursue contingent
fee arrangements with BEL claimants, there exists a financial incentive in which accountants
may benefit from submission of inaccurate or invalid profit and loss statements.

For all of these reasons, an examination related to the processing of BEL claims is necessary to
identify standardized processes and remedial steps related to the BEL claims process to insure
that claims are considered using only accurate, non-fraudulent financial data. This is essential
to establish the integrity of the CSSP claims process.


V.      The Proposed Examination of the CSSP Should Also Evaluate the Sufficiency of
        the CLA Audit To Determine Whether a Broader Audit Is Warranted.

As referenced above, the CLA audit was not designed to test the vendor governance
measures, but rather only the internal controls of the CSSP, i.e., whether claims were being
evaluated and calculated according to the terms of the settlement agreement. However, as
detailed below, because of significant questions raised primarily by the small random sample
(which results in a high margin of error in the findings) and the simple sampling methodology
(which did not take into consideration the material differences between claim types), the CLA
audit scope does not look sufficient and the proposed examination of the CSSP should take
that into consideration.

        A.       The Sample Size and Claims Selection Methodology Raise Significant
                 Concerns Regarding the Validity of the Conclusions.

CLA indicates that its analysis of Paid Claims 6 is based on a test of 96 claims from 10 of the 12
claims categories and that the random sample was selected using a “sampling methodology
[with] a confidence level of 95% with a 10% margin of error . . . .” (Report, p. 16.) Allowing
for this margin of error in testing of a population of 15,894 paid claims (Report, p. 9.) means
that up to 1,589 paid claims could have been calculated with errors and would not be identified
by the CLA testing. Given the importance of the CSSP operations and the aggregate monetary
value of CSSP awards, it is unclear why CLA would select such a high margin of error and/or
why only 96 claims were reviewed (i.e., approximately 0.6% of paid claims subject to the
audit). Materially improving the accuracy of the audit to a 3% margin of error would have only
required a sample size of approximately 1,000 claims. This would appear to be an area where
the increased cost of an expanded review would be justified given the dollars flowing from the
CSSP.




6
 Unless otherwise defined in this letter, capitalized terms are used as they are defined in the
Report.
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Similarly, the use of a random sample methodology also appears to undercut the validity of the
report’s findings. Rather than a simple random sample, which assumes that an exception (i.e.,
mistake) poses the same risk to the facility regardless of the claim type in which it occurs, we
would have expected an experienced firm such as CLA to perform a more sophisticated dollar
and risk weighted methodology (e.g., materiality based sampling). As a result of not weighting
the sample based on claim value, 50% of the claims tested represented 1% of the dollar
amount tested. A quarter of the entire sample was comprised of Coastal Real Property Claims
which do not appear to present much risk to the program. This significantly draws the overall
observations contained in the report into question.

        B.       The Report Does Not Drill Down Into Any Exceptions Revealed by the Audit
                 and Tellingly, Does Not Actually State An Opinion as to the Effectiveness
                 of the Internal Controls.

Although the CLA report does not highlight this statistic, the audit found 13% of the BEL claims
reviewed were overpaid. This is a large percentage of overpaid claims, particularly in a claim
type with one of the highest-dollar values. Similarly, of the sample claims tested for QA/QC
reviews, CLA identified 8% of the claims contained irregularities. Notwithstanding these
significant findings however, CLA made no recommendation to undertake further sampling or
investigation to confirm whether or not these statistics are in fact actually reflective of the
overall facility performance.

Similarly, the report contains only minimal analysis of appealed and denied claims except for
some trending measures. A properly scoped process audit of the CSSP must include a
meaningful review of both appealed and denied claims because the substance and results of
the appealed claims would likely provide insight into any infirmity in the claims process and a
review of denied claims would provide useful information relating to the filing of fraudulent
claims.

In short, the scope of CLA’s audit, even given its stated purpose, appears as being too
superficial to give a meaningful insight into whether the CSSP internal controls are efficacious.


VI.     A Full Examination of the CSSP Is Warranted And Necessary.

Pursuant to the terms of the Settlement Agreement 7 and the Settlement Trust Agreement 8,
Mr. Juneau is obligated, inter alia, to act as a fiduciary of the Settlement Trust, to “oversee and
supervise the Claims Administration Vendors” and to pay “reasonable and necessary expenses
incurred in connection with the operation of the Settlement Program.” 9 As described in this
letter, based on discussions with the CSSP vendors and materials provided by the CAO, the
level of supervision and expense management applied to the vendors appears to be less than

7
  Originally filed in the United States District Court for the Eastern District of Louisiana on April
18, 2012, in In Re: Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April
20, 2010, MDL No. 2179 (Rec. Doc. 6726-1), as amended May 1, 2012.
8
  Deepwater Horizon Economic and Property Damages Trust Agreement, dated May 4, 2012.
9
  See, Settlement Agreement ¶¶ 4.3.2; 5.12.1.1.3; Settlement Trust Agreement ¶ 2.1.
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United States District Judge
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best practices. In addition, there are serious questions about the adequacy of control
mechanisms as acutely demonstrated by the recent allegations against a senior CAO
employee.

An examination, including improvement recommendations as appropriate, would aid the Claims
Administrator in fulfilling his obligations under the Settlement Agreement and Settlement Trust
Agreement and would further the CAO’s fiduciary responsibility to operate an efficient and high
quality claims facility. Our expectation is that the examination will create opportunities for the
CSSP to improve claims processing performance, drive more consistent and accurate claims
results and, possibly, increase the pace of claim determinations.


Sincerely,




Mark Holstein
Managing Attorney


cc:     Magistrate Judge Sally Shushan
        Patrick A. Juneau
        Michael J. Juneau
        Steve Herman
        James Roy
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 MEETING NOTES
 MEETING FOCUS:     ADMINISTRATIVE BUDGET MEETING
 MEETING DATE:      AUGUST 9, 2013 9:30 AM CST
 ATTENDEES:
      Name                            Company                           DHECC
      Maria Travis                    BP                                David Odom
      Todd Brents                     Alix Partners                     Kirk Fisher
      Amy Boatman                     KPMG                              Bob Levine
      Ramji Kaul                      SNR Denton
      Steve Herman                    Herman, Herman, & Katz
      John Creevy                     Herman, Herman, & Katz
      Tommy Thomassie                 Wright, Roy, & Edwards



BP Presentation on Planned Budgeting Process
 BP established a five part framework upon which its review of the Administrative Budget will be
    evaluated.
     Determine Projected Work Volume by Claim Volume
         This should include projections of new claims filed and should be projected down to the task
            level for each step in the claims process.
     Productivity Rates for Each Task
         These should be determined on a per FTE level to determine the hours required to complete
            each step in the claims process.
         This should be calculated by the hours required to perform each task.
     Staffing Levels
         Projected staffing levels by function and location are determined using the two
            aforementioned parts of the framework.
     Labor Costs
         Developed by determining appropriate staffing levels and hourly rate for each necessary
            person for each function. This figure is multiplied by the estimated number of individuals
            necessary from the previous step.
     Expenses
         Based on historical run rates with regular consideration of expenses that are no longer
            necessary.
            (1) Out of pocket expenses should be largely related to projected headcounts.
 Budget calculations should be made in an integrated model.
     Connect the projected volumes to the cost and expense calculations.
 Actual results should be tracked against the budgeted volumes and hours with a variance analysis.



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 MEETING NOTES (CONTINUED)
Previous Requests for Information (RFIs) by BP
 This section serves to establish the following: 1) the specific information previously requested by BP
    and 2) that the Claims Administrator’s Office (CAO) has responded by providing to BP as requested
    all information currently tracked and maintained by the CAO.
     The CAO has provided to BP all data that has been provided to it by the Vendors. Additionally,
         some information has not been provided to BP because it is not tracked at the certain micro-
         granular levels requested by BP. However, all information that is currently tracked by the CAO
         and was available to the CAO that has been requested by BP was subsequently provided to BP.
          As to the information that needs to be requested from the Vendors and the information
             that needs to be tracked at a very granular level, BP and the CAO agreed on August 9 that it
             will take a reasonable amount of time for the CAO to acquire this information from the
             Vendors and develop this level of tracking before the CAO is able to provide it to BP.
          Additionally, it was agreed to by BP and the CAO on August 9 that, given the time
             constraints of the budget development process, certain non-budgetary information requests
             will be given a lower priority than those information requests related to the budget
             development process. These instances are noted in the minutes.
     A matrix of this information is attached in Exhibits A and B.
 May 1 Questions/RFIs for the CAO (Exhibit A)
     Performance Metrics/Budgeting
          Updated Organization Chart, including headcounts for each area
             (1) It was acknowledged by BP and the CAO on August 9 that this has been provided to BP
                  on a high-level overview perspective.
                  (a) It was acknowledged by BP and the CAO on August 9 that it is extremely onerous to
                      provide this information on an “employee name” basis for the entire Program given
                      the mere number of employees currently working for the Vendors.
             (2) In an effort to provide BP with employee information that can be correlated with the
                  invoices, the CAO will provide more detailed organizational charts at the head count
                  level for each Vendor employment position rather than at the individual employee
                  name level.
          Operations Manual and Process Flow Map for the claims process; correlate headcounts to
             the process flow map
             (1) It was acknowledged by BP and the CAO on August 9 that this has been provided to BP.
                  (a) However, it was acknowledged by BP and the CAO on August 9 that the CAO did not
                      receive information correlating head count to the process flow map from the
                      Vendors. Therefore, the CAO was unable to provide this information.
          Management Reports and analysis performed to evaluate claims processing vs.
             costs/staffing
             (1) It was acknowledged by BP and the CAO on August 9 that this has been provided to BP;
                  however, the information provided correlated to volume.
                  (a) It was acknowledged by BP and the CAO on August 9 that the CAO did not receive
                      information evaluating claims on a cost/staffing basis from the Vendors. Therefore,
                      the CAO was unable to provide this information.
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MEETING NOTES (CONTINUED)
            Schedule of amounts that vendors pay to each contractor
             (1) It was acknowledged by BP and the CAO on August 9 the CAO does not have this
                 information.
                 (a) Based on discussions at the June 18 meetings, the CAO does not currently have
                      authority to request this information from the Vendors as per the Vendor contracts.
                 (b) The Vendors have provided which contractors are performing work on the Program
                      and the rates that the Vendor is billing the Program for that labor. However, as per
                      Vendor Contracts, the Vendors are not obligated to provide the rates that they
                      charge the contractors for this performed labor.
            Time in motion or velocity studies of the claims administration process
             (1) It was acknowledged by BP and the CAO on August 9 that this has been provided to BP
                 on a macro level within the Utilization Modeling.
                 (a) This topic is covered in greater detail with the discussion of the Utilization Modeling
                      and the raw data that is incorporated into producing those reports.
                 (b) In July 2012, when the CAO began creating these models, several assumptions were
                      initially made. These assumptions were gradually removed as the model matured
                      and data became available.
            Analysis of administrative costs incurred or budgeted on an average claim basis across
             status types (eligible, incomplete, denial, withdrawn, closed) - if possible broken down by
             vendor by task
             (1) It was acknowledged by BP and the CAO on August 9 this is currently not tracked by the
                 CAO.
                 (a) The CAO currently measures the total system cost per damage category based on all
                      notice types that are issued, but this is not tracked at the task sublevel. This, along
                      with information from the Utilization Modeling, can be married to the costs with
                      accompanying reasonable assumptions to create the budget.
            Projections for the average administrative costs per claim type
             (1) It was acknowledged by BP and the CAO on August 9 that this data has been provided to
                 BP.
            Projections of the time and costs to resolve the claims with no notice backlog, approx.
             70,000 claims with no notices issued
             (1) It was acknowledged by BP and the CAO on August 9 that this data has been provided to
                 BP.
            Projections of the time and costs to resolve the incomplete claims backlog, approx. 30,000
             claims with incomplete notices
             (1) It was acknowledged by BP and the CAO on August 9 that this has been provided to BP.
            Projections of the time and costs to process claims based upon the estimated number of
             new claims
             (1) It was acknowledged by BP and the CAO on August 9 that this has been provided to BP.
            Key metrics to track each vendor. How are vendors being evaluated when contracts are not
             complete?

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MEETING NOTES (CONTINUED)
             (1) It was acknowledged by BP and the CAO on August 9 that the CAO does not have this
                 information.
             (2) The key metrics to track Vendors are Key Performance Indicators (KPIs), which can be
                 implemented as per the Task Orders of the Vendor contracts.
                 (a) When the claims processing began, the CAO wanted flexibility in establishing the
                     expectations of the Vendors.
                     (i) The CAO decided that KPIs should not be established as the Program was still
                          evolving.
                 (b) The CAO envisions that as the Program reaches a steady state, KPIs will be a
                     valuable tool used to track and evaluate Vendors.
                 (c) The Task Orders, however, do currently establish FTE Allocation.
             (3) The next Task Order will be agreed upon in October 2013.
            Description of the steps taken to evaluate continual administrative process improvements,
             including efficiency improvements
             (1) This RFI relates to system optimization and process optimization efforts.
             (2) It was acknowledged by BP and the CAO on August 9 that this has been provided to BP.
                 (a) An example of this would be the IEL Process Improvement provided to BP in
                     Exhibit E of the May 22 Letter to BP.
             (3) BP and the CAO acknowledged on August 9 that, because of the complexity of the
                 Program, the continual administrative process improvements can only reasonably be
                 performed on a macro level.
                 (a) Given the complexity of the Program, it is virtually impossible to isolate and
                     measure specific variables to determine the effect one process change has on the
                     whole Program.
                 (b) To date, the CAO has focused on tracking global throughput rather than the system
                     optimization effect of individual process changes.
                     (i) Rather than measuring the system processes on a micro level, the CAO uses
                         Daily Notice Reports per Claim Type to measure daily productivity against
                         previously set benchmark goals.
             (4) BP and the CAO acknowledged on August 9 that times could exist when it is possible to
                 measure the effect a single change had on the whole Program; however, these
                 occurrences would be rare.
                 (a) One August 9, BP suggested including key highlights that illustrate instances in
                     which system optimization efforts have a quantifiable effect in the periodic reports
                     the CAO distributes to BP.
                     (i) However, the difficulty in quantifying this data was acknowledged by both BP
                         and the CAO.
            Support for the decision to not consolidate BEL processes
             (1) This topic was acknowledged by BP and at CAO on August 9 as having been discussed
                 and resolved by BP, the CAO, and the Vendors at the Vendor meetings in June.
            Cause(s) for the disparate trending of GCG administrative cost reduction and BrownGreer's
             administrative cost increase since the Program inception
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MEETING NOTES (CONTINUED)
             (1) It was acknowledged by BP and the CAO on August 9 that this issue had been resolved
                 for the most part in June at the Vendor meetings and that anything currently unresolved
                 will be resolved by the budgeting process itself.
            Document the underlying activities BrownGreer performs in the CSSP process vs. the GCCF
             process that gives rise to incremental CSSP costs for BrownGreer versus GCCF costs
             (1) It was acknowledged by BP and the CAO on August 9 that the CAO cannot comment as
                 to the underlying activities performed by BrownGreer for the GCCF.
            Cost spent on training staff
             (1) It was acknowledged by BP and the CAO on August 9 that the CAO is not currently
                 requiring this information from Vendors and therefore has not tracked this information
                 to date as the CAO has focused more on trending.
                 (a) Additionally, it is not likely that the CAO will be able to acquire this information from
                      the Vendors on short notice.
                 (b) BP requested on August 9, at a minimum, information concerning the out of pocket
                      costs each Vendor incurs in hiring and training new employees.
                      (i) The CAO acknowledged this request and will begin the process of acquiring the
                           data from the Vendors.
            Turnover rate for project team members
             (1) This point is similar to the previous concerning “Cost spent on training staff.”
                 (a) It was acknowledged by BP and the CAO on August 9 that the CAO does not
                      currently track this information because it does not currently require this
                      information from the Vendors.
                      (i) However, BrownGreer’s turnover statistics were uploaded to the CAO
                           SharePoint site on June 14, 2013.
                      (ii) Additionally, as requested by BP, the CAO will contact the other Vendors to
                           acquire this information and provide it to BP as soon as is practicable.
                 (b) It was agreed between BP and the CAO on August 9 that information related to
                      turnover is mainly of a processing concern rather than a budgetary concern.
                      Therefore, it was agreed that the acquisition and delivery of this information will be
                      treated with a lower priority than information related strictly to the development of
                      the budget.
            Costs of re-training due to turnover
             (1) This point is similar to the previous two points.
                 (a) It was acknowledged by BP and the CAO on August 9 that the CAO does not
                      currently track this information because it does not currently require this
                      information from the Vendors.
                 (b) It was agreed between BP and the CAO on August 9 that information related to
                      turnover is mainly of a processing concern rather than a budgetary concern.
                      Therefore, it was agreed that the acquisition and delivery of this information will be
                      treated with a lower priority than information related strictly to the development of
                      the budget.
            Performance measures for project team members

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MEETING NOTES (CONTINUED)
             (1) It was acknowledged by BP and the CAO on August 9 that this has been provided to BP
                 in a satisfactory manner.
          Results of actions taken based on project team members’ performance metrics
             (1) It was acknowledged by BP and the CAO on August 9 that the CAO does not currently
                 track this information because it does not currently require this information from the
                 Vendors.
        Internal Audit and Vendor Self-Review Process
          Copies of all reports issued from internal quality assurance and vendor self-reviews
             (1) It was acknowledged by BP and the CAO on August 9 that this has been provided to BP.
          Copy of the quality assurance work plan
             (1) It was acknowledged by BP and the CAO on August 9 that this has been provided to BP.
          Copies of vendor self-review plans
             (1) It was acknowledged by BP and the CAO on August 9 that this has been provided to BP.
          Documented process for performing quality review of claims for each claim type
             (1) It was acknowledged by BP and the CAO on August 9 that this has been provided to BP.
          In relation to the previous four topics, BP requested at the August 9 meeting a copy of the
             second quarter internal audit report.
             (1) The CAO will provide this report to BP.
        Fraud Detection Program
          Copies of any reports of the results of the fraud detection program
             (1) It was acknowledged by BP and the CAO on August 9 that all reports of results of fraud
                 detection have been provided to BP.
          Current fraud detection program data
             (1) It was acknowledged by BP and the CAO on August 9 that the CAO provided all fraud
                 data maintained by the CAO to BP. This data identified the number of claims identified
                 as fraudulent.
                 (a) The CAO does not track fraud detection from a volume throughput perspective.
                      (i) The CAO’s tracking of fraud is less about efficiency and more about fraud
                          detection itself.
             (2) BP requested on August 9 more detail on the number of claims being reviewed by the
                 Special Investigations Team.
                 (a) BP and the CAO agreed that because this documentation request is unrelated to the
                      budget, this request will have a lower priority than the requests related to the
                      Administrative Budget.
          Update on the final resolution of the claims summarized on Handout #3 of the January 16,
             2013 Fraud Process Overview report
             (1) It was acknowledged by BP and the CAO on August 9 that this has been provided to BP
                 on June 14 by BrownGreer.




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    MEETING NOTES (CONTINUED)
             Analysis of the administrative cost impact of the presence of potential fraudulent claims in
              the system; percentage of administrative costs per claim and per claim type associated with
              fraud investigations
              (1) It was acknowledged by BP and the CAO on August 9 that the CAO does not track the
                   impact of potential fraudulent claims by administrative cost in this manner.
              (2) It was acknowledged by BP and the CAO one August 9 that information contained in the
                   Status Reports provided by BrownGreer have partially satisfied this request.
                   (a) BP requested on August 9 more detail on the number of claims being reviewed by
                       the Special Investigations Team and, if permissible, the identity of the claims by
                       Claim ID.
                   (b) The CAO is unsure at the moment whether the Settlement Agreement permits the
                       disclosure of the identity of the claims that are under fraud review and will further
                       research the topic.
           Results of the HUB investigations
              (1) It was acknowledged by BP and the CAO on August 9 that it is unclear at the moment
                   whether the Settlement Agreement permits the CAO to provide claimant specific
                   information to BP.
           Analysis of fraudulent claim attributes and search of remaining claims for signs of those
              attributes
              (1) It was acknowledged by BP and the CAO on August 9 that this is currently not tracked by
                   the CAO.
           Correlation analysis of claims to identify repetitive patterns (i.e. amounts, class member,
              address/location, and attorney/representation)
              (1) It was acknowledged by BP and the CAO on August 9 that this is currently not tracked by
                   the CAO.
      August 5, 2013, Letter from Maria Travis
        Targeted claim determinations and payments by claim type and by person
           It was acknowledged by BP and the CAO on August 9 that all information available to the
              CAO has been provided to BP as encompassed within the Utilization Modeling and would be
              explored further in the discussion of that modeling.
              (1) It was acknowledged by BP and the CAO on August 9 that the Utilization Modeling
                   included targeted claim determinations by claim type and by person but did not include
                   targeted payments by claim type and by person.
        Call center activity and targeted metrics
           It was acknowledged by BP and the CAO on August 9 that all information available to the
              CAO has been provided to BP.
           Given the familiarity the CAO has developed with this metric, it is likely the Erlang-C
              modeling will not be necessary in incorporating call center activity into the budget.
        Targeted throughput analysis for each stage in the claim process
           It was acknowledged by BP and the CAO on August 9 that this has been provided to BP as
              encompassed within the Utilization Modeling and would be explored further in the
              discussion of that modeling.
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MEETING NOTES (CONTINUED)
        Estimated progress of incomplete claim analysis, broken down by type of incompleteness, aging
         of claim, and action items to be undertaken to resolve
          It was acknowledged by BP and the CAO on August 9 that all information available to the
              CAO has been provided to BP as encompassed within the Utilization Modeling and
              Incompleteness Outreach Reports and would be explored further in the discussion of the
              Utilization Modeling.
          BP has identified this as a “choke point.”
        Levels of quality assurance in relation to reasonableness thresholds
          Prior to this August 9 meeting, the meaning of this Request for Information was unclear to
              the CAO. However, BP clarified its RFI on August 9 when it posed questions as to why
              varying claim types receive varying amounts of quality assurance.
              (1) It was acknowledged by BP and the CAO on August 9 that the CAO has provided copies
                   of its quarterly internal audit reports and data in relation to QA reviews.
          It was acknowledged by BP and the CAO on August 9 that this was a process issue rather
              than a budgetary issue; therefore, it was agreed that discussion of this topic would be
              reserved for a later, post-budget date.
        Projected fraud detection activity and bases for levels of efforts
          As mentioned previously in relation to fraud detection, it was acknowledged by BP and the
              CAO on August 9 that the CAO has provided to BP all of the fraud data reports maintained
              by the CAO.
          However, it was acknowledged by BP and the CAO on August 9 that this was a process issue
              rather than a budgetary issue; therefore, it was agreed that discussion of this topic would be
              reserved for a later, post-budget development date.
        FTE count by month, location, function, designation for employee vs. contractor, and claim type
          It was acknowledged by BP and the CAO on August 9 that all information available to the
              CAO has been provided to BP as encompassed within the Utilization Modeling and would be
              explored further in the discussion of that modeling.
              (1) It was acknowledged by BP and the CAO on August 9 that information related to
                   designation of employee vs. contractor, claim type, and location of FTE for all Vendors is
                   not currently available to the CAO.
        Fees and expenses broken down by month, Vendor, level, location, and expense type
          It was acknowledged by BP and the CAO on August 9 that this information has been partially
              provided to BP within the monthly invoices.
              (1) It was acknowledged by BP and the CAO that the CAO had not previously required this
                   level of detail in the invoices of the Vendors.
              (2) BP requests to see this level of detail within the budget.
        Turnover analysis: count of additions and subtractions of employees and contractors
          It was acknowledged by BP and the CAO on August 9 that all information available to the
              CAO has been provided to BP, which consisted of turnover statistics as related to
              BrownGreer.


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MEETING NOTES (CONTINUED)
             (1) The CAO will contact the Vendors who have not provided this information to request
                 this information, and the CAO will provide it to BP.
                 (a) It was noted that Postlethwaite & Netterville’s turnover rate is around 4% annually.
             (2) However, it was acknowledged by BP and the CAO on August 9 that this was a process
                 issue rather than a budgetary issue; therefore, it was agreed that discussion of this topic
                 would be reserved for a later, post-budget date.
                 (a) Additionally, BP proposed on August 9 including this in the previously mentioned
                      periodic reporting that the CAO will provide to BP. Additionally, both BP and the
                      CAO agreed that maintaining an open dialog about the issue of turnover rate would
                      be beneficial to the productivity and efficiency of the Program.
        Turnover analysis: training requirements and costs given projected turnover
          This point was encompassed in the discussion of the previous point.
          It was acknowledged by BP and the CAO on August 9 that all information available to the
             CAO has been provided to BP.
             (1) The CAO will contact the Vendors who have not provided this information to request
                 this information, and the CAO will provide it to BP.
          It was acknowledged by BP and the CAO on August 9 that this was a process issue rather
             than a budgetary issue; therefore, it was agreed that discussion of this topic would be
             reserved for a later, post-budget date.
        Turnover analysis: projected staffing level and hourly rate changes with justification/explanatory
         notes for any changes
          It was acknowledged by BP and the CAO on August 9 that all information available to the
             CAO has been provided to BP.
             (1) The CAO will contact the Vendors who have not provided this information to request
                 this information, and the CAO will provide it to BP.
             (2) No Vendor currently tracks or reports its projected staffing and hourly rate changes with
                 explanatory notes.
          It was acknowledged by BP and the CAO on August 9 that this was a process issue rather
             than a budgetary issue; therefore, it was agreed that discussion of this topic would be
             reserved for a later, post-budget date.
        Measure productivity in relation to costs using KPIs
          Given that no KPIs exist within the current Task Orders, it was acknowledged by BP and the
             CAO on August 9 that this issue was not related to the immediate revision of this budget.
             However, BP and the CAO agreed to explore the use of KPIs to increase efficiency and
             productivity in the future.
        Data dictionary
          It was acknowledged by BP and the CAO on August 9 that all information currently being
             tracked by the CAO has been provided to BP.
             (1) However, BP requested on August 9 a data dictionary including every data field for the
                 entire database currently maintained by the CAO in an effort to further determine any
                 additional metrics that may be helpful.


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 MEETING NOTES (CONTINUED)
               (a) The CAO acknowledged this request and agreed to provide this information as soon
                   as practicable.
           (2) It was acknowledged by BP and the CAO on August 9 that this was a process issue rather
               than a budgetary issue; therefore, it was agreed that discussion of this topic would be
               reserved for a later, post-budget date.

Budget Process and the Utilization Modeling
 The CAO will have a revised budget prepared within the time parameters set forth by the Court.
    However, given the short time frame and the startup phase of this budgeting process, both BP
       and the CAO agreed that it is expected that certain reasonable assumptions will need to be
       established in order to provide the revised budget within the Court-established timeframe.
    These assumptions will be modified over time in order to fine tune the projected budget to the
       level of granularity desired.
        Assumptions such as these have been made in the CAO Utilization Modeling and were fine-
           tuned as the Program matured and grew towards steady state.
 The Utilization Modeling will be the main tool used to revise the CAO’s budget.
    The Utilization Model is updated on a monthly basis to provide a more or less real time
       forecasting tool.
        This model was developed as a tool that the CAO uses to measure the efficiency and Claim
           throughout of the entire system. It can now be modified and used to generate a budget.
    This Model was initially developed in July 2012, as Claims began to be processed to
       determination notices, in an effort to measure the time spent in each of the various phases of
       the processing of a Claim.
        The CAO has provided to BP a summation of all of this information in the Meter Charts.
           (1) This provides monthly, backward-looking information on system capacity for a given
                month and actual final determinations as compared to that system capacity.
        Initially, several assumptions were made with Vendor cooperation in building this model;
           however, over time, these assumptions have been replaced with data to increase the
           predictive accuracy of the Model.
        Because this Model uses data collected from the BrownGreer system, it does not currently
           incorporate the offline aspects of review performed by P&N and PwC.
    This Model does not granularly track time at the reviewer-specific level because of the
       complexity of the system, given that a reviewer may touch several different Claims in a single
       day because of incompleteness notices, pending policy, etc.
        Not every hour of a FTE’s workday is captured by the BrownGreer system because a small
           portion of that time is lost in offline, claim review related activities.
           (1) This time is captured in a task utilization rate that measures off-task time that is
                inherent in the Claims processing system.
           (2) The Utilization Modeling measures purely on-task touch time; however, it also backs
                into the information concerning the off-task time inherent in the system.
    The Process Duration information on the Utilization Model will be used to revise the budget.
        However, because this information was initially developed with a focus on projecting and
           measuring system efficiency, it will need to be adapted to be used to produce a budget.
           (1) The challenge will be breaking down the information of the individual tasks.

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 MEETING NOTES (CONTINUED)
          BP and the CAO agreed on August 9 that this would be the main tool that would be used in
           revising the budget.
            BP requested on August 9 the raw data that the CAO had used to create the Utilization
               Models previously provided to BP. This was a one-time educational request for this
               information that would only be used to better understand the raw data of the Utilization
               Model for the purposes of revising the budget.
               (1) The CAO was unsure whether the Settlement Agreement provided the CAO with the
                    right to provide this information to BP.
            After brief discussion with the Plaintiffs’ Steering Committee, it was determined that the
               CAO would provide to BP the raw data used in creating the Utilization Models as a one-time
               provision for educational purposes relating to the revision of the budget.
               (1) The PSC noted that it had objected to the distribution of the material in the past;
                    however, it did not object to this one time provision solely for educational purposes
                    relating to the revision of the budget.
               (2) All raw data contained within the Model is data to which BP has already been granted
                    access. The Model itself, however, is a work product developed by the CAO and is
                    constantly modified and updated to better predict the processing of Claims.

Communications over the Next Week
 It is preferred by BP and the CAO that the communication process be open and informal so as to
   keep the revision of the budget as transparent and collaborative as possible.
    This will allow BP to better understand the process of the CAO in revising the budget.
 The tentative plan calls for a face-to-face meeting in New Orleans at the Claims Administrator’s
   Office on Wednesday, August 14, 2013, at 10:00 AM.




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 MEETING NOTES (CONTINUED)
ACTION ITEMS:
                TASK                RESPONSIBLE PARTY           COMPLETION DATE

                                                        As soon as possible. This
                                                        information has not been
 The CAO will provide BP with                           previously required from the
 more detailed organizational             CAO           Vendors. Therefore, it will take
 charts on the head count level.                        a reasonable amount of time for
                                                        the CAO to acquire this
                                                        information.
                                                        As soon as possible. This
 The CAO will provide BP with                           information has not been
 information on out-of-pocket                           previously required from the
 training costs of new employees          CAO           Vendors. Therefore, it will take
 for each Vendor.                                       a reasonable amount of time for
                                                        the CAO to acquire this
                                                        information.
 The CAO will provide BP with a
 copy of the second quarter               CAO           As soon as possible.
 internal audit report.
                                                        BP and the CAO agreed on
                                                        August 9 that because this
 The CAO will provide BP with                           documentation request is
 more detailed information on                           unrelated to the budget, this
 the number of claims being               CAO
                                                        request will have a lower
 reviewed for fraud detection.                          priority than the requests
                                                        related to the Administrative
                                                        Budget.
 The CAO will make a one-time                           As Soon As Possible. As per
 provision to BP of the raw data                        objection by the PSC, BP and
 drivers of the Utilization Model                       the CAO agreed on August 9
 for the purpose of better                              that this will be a one-time
                                          CAO
 understanding the mechanisms                           provision for the sole purpose
 that the CAO will use to revise                        of educating BP on the methods
 the budget.                                            that will be used to revise the
                                                        budget.
                                                        BP and the CAO agreed that on
                                                        August 9 that because this
 BP requested information                               documentation request is
 concerning the turnover rates of                       unrelated to the budget, this
                                          CAO
 the various Vendors.                                   request will have a lower
                                                        priority than the requests
                                                        related to the Administrative
                                                        Budget.


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                                                     BP and the CAO agreed on
                                                     August 9 that because this
 BP requested a data dictionary                      documentation request is
 of all data fields currently                        unrelated to the budget, this
                                               CAO
 captured in the CAO system.                         request will have a lower
                                                     priority than the requests
                                                     related to the Administrative
                                                     Budget.



Please distribute internally as appropriate.




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